Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 1 of 11




          EXHIBIT 16
RE: Sierra: proposed Second Amended Complaint                                              https://mail.aol.com/webmail-std/en-us/PrintMessage
                          Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 2 of 11

            From: jweng@law.nyc.gov,
               To: josh@moskovitzlaw.com,
              Cc: gnelson@law.nyc.gov, daweiss@law.nyc.gov, sriordan@law.nyc.gov, sbreslow@law.nyc.gov, nibrahim@law.nyc.gov,
                   dbraun@law.nyc.gov, brhamill@law.nyc.gov, arobinso@law.nyc.gov, GVecchi@law.nyc.gov, mikespieg@aol.com,
          Subject: RE: Sierra: proposed Second Amended Complaint
             Date: Thu, Apr 7, 2022 4:02 pm


          Josh,

          We don’t think a meet and confer is necessary. Here’s our posi�on:
             1. There were no John Does in the original complaint or in the ﬁrst amended complaint for you to replace them
                with individually named defendants.
             2. Per Judge McMahon’s Order, the deadline to amend the pleadings was over a year ago on March 5, 2021, so
                this proposed amended complaint is not �mely. (Dkt No. 34).
             3. Plain�ﬀs had the names of the individual defendants for a long �me so there’s no good cause for such delay.
             4. The statute of limita�ons have run on the state law claims and therefore such claims are �me-barred as to any
                newly added defendants.

          Based on all the above, defendants object to your proposed Second Amended Complaint.

          Best,
          Jenny




          From: Joshua S. Moskovitz <josh@moskovitzlaw.com>
          Sent: Thursday, April 7, 2022 12:20 PM
          To: Weiss, Dara (Law) <daweiss@law.nyc.gov>; Weng, Jenny (Law) <jweng@law.nyc.gov>
          Cc: Nelson, Genevieve (Law) <gnelson@law.nyc.gov>; Riordan, Shannon (LAW) <sriordan@law.nyc.gov>; Breslow,
          Stephanie (Law) <sbreslow@law.nyc.gov>; Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>; Braun, Daniel (Law)
          <dbraun@law.nyc.gov>; Hamill, Bridget (LAW) <brhamill@law.nyc.gov>; Robinson, Amy (LAW)
          <arobinso@law.nyc.gov>; Vecchiarelli, Giancarlo (LAW) <GVecchi@law.nyc.gov>; Michael Spiegel
          <mikespieg@aol.com>
          Subject: [EXTERNAL] Re: Sierra: proposed Second Amended Complaint



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          Dara / Jenny,



          Please let us know what time you are available to confer about this later today or tomorrow.




1 of 10                                                                                                                  4/27/2022, 12:33 PM
RE: Sierra: proposed Second Amended Complaint                                                                             https://mail.aol.com/webmail-std/en-us/PrintMessage
                              Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 3 of 11

          Thanks,



          Josh




          Joshua S. Moskovitz

          The Law Office of Joshua Moskovitz, P.C.

          392 Central Avenue # 7083 | Jersey City, New Jersey 07307

          14 Wall Street, Suite 1603 | New York, New York 10005

          Tel. (212) 380-7040 | josh@moskovitzlaw.com



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          From: Joshua S. Moskovitz <josh@moskovitzlaw.com>
          Date: Wednesday, April 6, 2022 at 10:07 AM
          To: Weiss, Dara (Law) <daweiss@law.nyc.gov>, Weng, Jenny (Law) <jweng@law.nyc.gov>
          Cc: Nelson, Genevieve (Law) <gnelson@law.nyc.gov>, Riordan, Shannon (LAW) <sriordan@law.nyc.gov>,
          Breslow, Stephanie (Law) <sbreslow@law.nyc.gov>, Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>,
          Braun, Daniel (Law) <dbraun@law.nyc.gov>, Hamill, Bridget (LAW) <brhamill@law.nyc.gov>, Robinson,
          Amy (LAW) <arobinso@law.nyc.gov>, Vecchiarelli, Giancarlo (LAW) <GVecchi@law.nyc.gov>, Michael
          Spiegel <mikespieg@aol.com>
          Subject: Re: Sierra: proposed Second Amended Complaint

          Dara, thanks for your response. I hope Jenny is feeling better. We are available tomorrow any time after
          11:00 a.m.




          Joshua S. Moskovitz

          T�� L�� O����� �� J����� M��������, �.�.

          392 Central Avenue # 7803 | Jersey City, New Jersey 07307


2 of 10                                                                                                                                                            4/27/2022, 12:33 PM
RE: Sierra: proposed Second Amended Complaint                                                                             https://mail.aol.com/webmail-std/en-us/PrintMessage
                              Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 4 of 11

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          From: Dara Weiss <daweiss@law.nyc.gov>
          Date: Wednesday, April 6, 2022 at 9:48 AM
          To: Joshua Moskovitz <josh@moskovitzlaw.com>, Jenny Weng <jweng@law.nyc.gov>
          Cc: "Nelson, Genevieve (Law)" <gnelson@law.nyc.gov>, "Riordan, Shannon (LAW)"
          <sriordan@law.nyc.gov>, "Breslow, Stephanie (Law)" <sbreslow@law.nyc.gov>, "Ibrahim, Nadine (LAW)"
          <nibrahim@law.nyc.gov>, Daniel Braun <dbraun@law.nyc.gov>, "Hamill, Bridget (LAW)"
          <brhamill@law.nyc.gov>, "Robinson, Amy (LAW)" <arobinso@law.nyc.gov>, "Vecchiarelli, Giancarlo
          (LAW)" <GVecchi@law.nyc.gov>, Michael Spiegel <mikespieg@aol.com>
          Subject: RE: Sierra: proposed Second Amended Complaint



          Hi Josh,

          Jenny is out sick today, but she hopes to be back tomorrow, so can we say tomorrow?

          If you let us know what times you are available, Jenny will do her best to make herself available

          Thanks so much,

          Dara




          From: Joshua S. Moskovitz <josh@moskovitzlaw.com>
          Sent: Wednesday, April 6, 2022 9:41 AM
          To: Weng, Jenny (Law) <jweng@law.nyc.gov>
          Cc: Nelson, Genevieve (Law) <gnelson@law.nyc.gov>; Weiss, Dara (Law) <daweiss@law.nyc.gov>; Riordan,
          Shannon (LAW) <sriordan@law.nyc.gov>; Breslow, Stephanie (Law) <sbreslow@law.nyc.gov>; Ibrahim, Nadine
          (LAW) <nibrahim@law.nyc.gov>; Braun, Daniel (Law) <dbraun@law.nyc.gov>; Hamill, Bridget (LAW)
          <brhamill@law.nyc.gov>; Robinson, Amy (LAW) <arobinso@law.nyc.gov>; Vecchiarelli, Giancarlo (LAW)
          <GVecchi@law.nyc.gov>; Michael Spiegel <mikespieg@aol.com>
          Subject: [EXTERNAL] Re: Sierra: proposed Second Amended Complaint



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3 of 10                                                                                                                                                            4/27/2022, 12:33 PM
RE: Sierra: proposed Second Amended Complaint                                                                             https://mail.aol.com/webmail-std/en-us/PrintMessage
                              Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 5 of 11

          Jenny,



          Please let us know if you are available today or tomorrow to confer about this.



          Thanks,



          Josh




          Joshua S. Moskovitz

          T�� L�� O����� �� J����� M��������, �.�.

          392 Central Avenue # 7803 | Jersey City, New Jersey 07307

          14 Wall Street, Suite 1603 | New York, New York 10005

          Tel. (212) 380-7040 | www.moskovitzlaw.com



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          From: Joshua Moskovitz <josh@moskovitzlaw.com>
          Date: Thursday, March 31, 2022 at 9:42 AM
          To: Jenny Weng <jweng@law.nyc.gov>
          Cc: "Nelson, Genevieve (Law)" <gnelson@law.nyc.gov>, Dara Weiss <daweiss@law.nyc.gov>, "Riordan,
          Shannon (LAW)" <sriordan@law.nyc.gov>, "Breslow, Stephanie (Law)" <sbreslow@law.nyc.gov>,
          "Ibrahim, Nadine (LAW)" <nibrahim@law.nyc.gov>, Daniel Braun <dbraun@law.nyc.gov>, "Hamill,
          Bridget (LAW)" <brhamill@law.nyc.gov>, "Robinson, Amy (LAW)" <arobinso@law.nyc.gov>,
          "Vecchiarelli, Giancarlo (LAW)" <GVecchi@law.nyc.gov>, Michael Spiegel <mikespieg@aol.com>
          Subject: Re: Sierra: proposed Second Amended Complaint



          Thank you.



          Joshua S. Moskovitz



4 of 10                                                                                                                                                            4/27/2022, 12:33 PM
RE: Sierra: proposed Second Amended Complaint                                               https://mail.aol.com/webmail-std/en-us/PrintMessage
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          392 Central Avenue # 7803 | Jersey City, NJ 07307

          14 Wall Street, Suite 1603 | New York, NY 10005

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                On Mar 31, 2022, at 8:56 AM, Weng, Jenny (Law) <jweng@law.nyc.gov> wrote:

                Good morning Josh,



                We’ll get back to you on our position early next week.



                Get Outlook for iOS


                From: Joshua S. Moskovitz <josh@moskovitzlaw.com>
                Sent: Wednesday, March 30, 2022 4:18 PM
                To: Nelson, Genevieve (Law) <gnelson@law.nyc.gov>; Weiss, Dara (Law) <daweiss@law.nyc.gov>;
                Weng, Jenny (Law) <jweng@law.nyc.gov>; Riordan, Shannon (LAW) <sriordan@law.nyc.gov>;
                Breslow, Stephanie (Law) <sbreslow@law.nyc.gov>; Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>;
                Braun, Daniel (Law) <dbraun@law.nyc.gov>; Hamill, Bridget (LAW) <brhamill@law.nyc.gov>;
                Robinson, Amy (LAW) <arobinso@law.nyc.gov>; Vecchiarelli, Giancarlo (LAW)
                <GVecchi@law.nyc.gov>
                Cc: Michael Spiegel <mikespieg@aol.com>
                Subject: [EXTERNAL] Re: Sierra: proposed Second Amended Complaint



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                Good afternoon,



                I’m circling back to set a time to discuss the proposed Sierra Second Amended Complaint.




5 of 10                                                                                                                   4/27/2022, 12:33 PM
RE: Sierra: proposed Second Amended Complaint                                                                         https://mail.aol.com/webmail-std/en-us/PrintMessage
                          Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 7 of 11

                Thank you,



                Josh




                Joshua S. Moskovitz

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                From: Joshua Moskovitz <josh@moskovitzlaw.com>
                Date: Wednesday, March 23, 2022 at 11:03 AM
                To: "Nelson, Genevieve (Law)" <gnelson@law.nyc.gov>, Dara Weiss <daweiss@law.nyc.gov>,
                Jenny Weng <jweng@law.nyc.gov>, "Riordan, Shannon (LAW)" <sriordan@law.nyc.gov>,
                "Breslow, Stephanie (Law)" <sbreslow@law.nyc.gov>, "Ibrahim, Nadine (LAW)"
                <nibrahim@law.nyc.gov>, Daniel Braun <dbraun@law.nyc.gov>, "Hamill, Bridget (LAW)"
                <brhamill@law.nyc.gov>, "Robinson, Amy (LAW)" <arobinso@law.nyc.gov>, "Vecchiarelli,
                Giancarlo (LAW)" <GVecchi@law.nyc.gov>
                Cc: Michael Spiegel <mikespieg@aol.com>
                Subject: Re: Sierra: proposed Second Amended Complaint



                Genevieve, thanks for the quick response. Today and tomorrow are not so good for me,
                unfortunately. Do you have any availability Friday or Monday?




                Joshua S. Moskovitz

                T�� L�� O����� �� J����� M��������, �.�.

                392 Central Avenue # 7803 | Jersey City, New Jersey 07307 | Tel. (201) 565-0961



6 of 10                                                                                                                                                       4/27/2022, 12:33 PM
RE: Sierra: proposed Second Amended Complaint                                                                         https://mail.aol.com/webmail-std/en-us/PrintMessage
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                From: "Nelson, Genevieve (Law)" <gnelson@law.nyc.gov>
                Date: Wednesday, March 23, 2022 at 11:02 AM
                To: Joshua Moskovitz <josh@moskovitzlaw.com>, Dara Weiss <daweiss@law.nyc.gov>, Jenny
                Weng <jweng@law.nyc.gov>, "Riordan, Shannon (LAW)" <sriordan@law.nyc.gov>, "Breslow,
                Stephanie (Law)" <sbreslow@law.nyc.gov>, "Ibrahim, Nadine (LAW)"
                <nibrahim@law.nyc.gov>, Daniel Braun <dbraun@law.nyc.gov>, "Hamill, Bridget (LAW)"
                <brhamill@law.nyc.gov>, "Robinson, Amy (LAW)" <arobinso@law.nyc.gov>, "Vecchiarelli,
                Giancarlo (LAW)" <GVecchi@law.nyc.gov>
                Cc: Michael Spiegel <mikespieg@aol.com>
                Subject: Re: Sierra: proposed Second Amended Complaint



                Ok. Can be available later today. Around 5?



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                From: Joshua S. Moskovitz <josh@moskovitzlaw.com>
                Sent: Wednesday, March 23, 2022 10:32:33 AM
                To: Weiss, Dara (Law) <daweiss@law.nyc.gov>; Nelson, Genevieve (Law) <gnelson@law.nyc.gov>;
                Weng, Jenny (Law) <jweng@law.nyc.gov>; Riordan, Shannon (LAW) <sriordan@law.nyc.gov>;
                Breslow, Stephanie (Law) <sbreslow@law.nyc.gov>; Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>;
                Braun, Daniel (Law) <dbraun@law.nyc.gov>; Hamill, Bridget (LAW) <brhamill@law.nyc.gov>;
                Robinson, Amy (LAW) <arobinso@law.nyc.gov>; Vecchiarelli, Giancarlo (LAW)
                <GVecchi@law.nyc.gov>
                Cc: Michael Spiegel <mikespieg@aol.com>
                Subject: [EXTERNAL] Re: Sierra: proposed Second Amended Complaint



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                Thank you.



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                          Case 1:20-cv-08924-CM Document 688-16 Filed 07/22/22 Page 9 of 11


                Joshua S. Moskovitz
                T�� L�� O����� �� J����� M��������, �.�.
                392 Central Avenue # 7803 | Jersey City, New Jersey 07307 | Tel. (201) 565-0961
                14 Wall Street, Suite 1603 | New York, New York 10005 | Tel. (212) 380-7040
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                From: Dara Weiss <daweiss@law.nyc.gov>
                Date: Wednesday, March 23, 2022 at 10:27 AM
                To: Joshua Moskovitz <josh@moskovitzlaw.com>, "Nelson, Genevieve (Law)"
                <gnelson@law.nyc.gov>, Jenny Weng <jweng@law.nyc.gov>, "Riordan, Shannon (LAW)"
                <sriordan@law.nyc.gov>, "Breslow, Stephanie (Law)" <sbreslow@law.nyc.gov>, "Ibrahim,
                Nadine (LAW)" <nibrahim@law.nyc.gov>, Daniel Braun <dbraun@law.nyc.gov>, "Hamill, Bridget
                (LAW)" <brhamill@law.nyc.gov>, "Robinson, Amy (LAW)" <arobinso@law.nyc.gov>,
                "Vecchiarelli, Giancarlo (LAW)" <GVecchi@law.nyc.gov>
                Cc: Michael Spiegel <mikespieg@aol.com>
                Subject: RE: Sierra: proposed Second Amended Complaint

                We are conferring internally and will get back to you shortly

                From: Joshua S. Moskovitz <josh@moskovitzlaw.com>
                Sent: Tuesday, March 22, 2022 9:52 PM
                To: Weiss, Dara (Law) <daweiss@law.nyc.gov>; Nelson, Genevieve (Law) <gnelson@law.nyc.gov>; Weng,
                Jenny (Law) <jweng@law.nyc.gov>; Riordan, Shannon (LAW) <sriordan@law.nyc.gov>; Breslow,
                Stephanie (Law) <sbreslow@law.nyc.gov>; Ibrahim, Nadine (LAW) <nibrahim@law.nyc.gov>; Braun,
                Daniel (Law) <dbraun@law.nyc.gov>; Hamill, Bridget (LAW) <brhamill@law.nyc.gov>; Robinson, Amy
                (LAW) <arobinso@law.nyc.gov>; Vecchiarelli, Giancarlo (LAW) <GVecchi@law.nyc.gov>
                Cc: Michael Spiegel <mikespieg@aol.com>
                Subject: [EXTERNAL] Re: Sierra: proposed Second Amended Complaint

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                 Dara,

                I am adding your colleagues on this email per your request earlier today that we copy your full team on
                our correspondence in this case. Please let us know when you are available to discuss our proposed
                Second Amended Complaint in Sierra.

                Thanks,


                Josh

                Joshua S. Moskovitz
                The Law Oﬃce of Joshua Moskovitz, P.C.
                392 Central Avenue # 7803 | Jersey City, New Jersey 07307 | Tel. (201) 565-0961
                14 Wall Street, Suite 1603 | New York, New York 10005 | Tel. (212) 380-7040
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                      On Mar 21, 2022, at 4:59 PM, Joshua S. Moskovitz <josh@moskovitzlaw.com> wrote:

                      Dara and Jenny,

                      Please let us know when you are available to discuss this.

                      Thanks,


                      Josh

                      Joshua S. Moskovitz
                      The Law Oﬃce of Joshua Moskovitz, P.C.
                      392 Central Avenue # 7803 | Jersey City, New Jersey 07307 | Tel. (201) 565-0961
                      14 Wall Street, Suite 1603 | New York, New York 10005 | Tel. (212) 380-7040
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                             On Mar 16, 2022, at 11:51 AM, Joshua S. Moskovitz
                             <josh@moskovitzlaw.com> wrote:


                             Dara and Jenny,

                             I am sending you the Sierra plaintiffs’ proposed Second Amended
                             Complaint (along with a redline showing the amendments). We would
                             like to set up a time to discuss this. Please let us know your availability
                             next week. If there is someone else on your team who we should speak
                             with, please let us know.

                             Thanks,

                             Josh


                             Joshua S. Moskovitz
                             T�� L�� O����� �� J����� M��������, �.�.
                             392 Central Avenue # 7803 | Jersey City, New Jersey 07307 | Tel. (201) 565-0961
                             14 Wall Street, Suite 1603 | New York, New York 10005 | Tel. (212) 380-7040
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9 of 10                                                                                                                                       4/27/2022, 12:33 PM
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